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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )     Chapter 11
                                                                       )
YELLOW CORPORATION, et al., 1                                          )     Case No. 23-11069 (CTG)
                                                                       )
                            Debtors.                                   )     (Jointly Administered)
                                                                       )

                     NOTICE OF WINNING BIDDERS WITH RESPECT TO
                     CERTAIN OF THE DEBTORS’ LEASED PROPERTIES

       PLEASE TAKE NOTICE that, on September 15, 2023 the Court entered that certain
Order (I)(A) Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets;
(B) Scheduling Auctions and Approving the Form and Manner of Notice Thereof; (C) Approving
Assumption and Assignment Procedures (D) Scheduling Sale Hearings and Approving the Form
and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear
of Liens, Claims, Interests, and Encumbrances and (B) Approving the Assumption and
Assignment of Executory Contracts and Unexpired Lease; and (III) Granting Related Relief
[Docket No. 575] (the “Bidding Procedures Order). 2

        PLEASE TAKE FURTHER NOTICE that the Bidding Procedures Order, among other
things, (i) set a bid deadline of November 9, 2023 at 5:00 p.m. (E.T.) for the Debtors’ Real
Property Assets, (ii) authorized the Debtors to conduct an auction for the sale of their Real
Property Assets (the “Real Estate Auction”), which commenced on November 28, 2023 at 9:00
a.m. (E.T.), (iii) set a Sale Objection Deadline with respect to sales of the Debtors’ Real Property
Assets of December 8, 2023 at 5:00 p.m. (E.T.), and (iv) scheduled a Sale Hearing to consider
the authorization of such sales, which was held on December 12, 2023 at 10:00 a.m. (E.T.).

        PLEASE TAKE FURTHER NOTICE that, on December 4, 2023, the Debtors filed
that certain Notice of Winning Bidders And, If Applicable, Back-Up Bidders With Respect To
Certain of the Debtors’ Real Property Assets [Docket No. 1268] to announce (a) twenty-one (21)
Winning Bidders (and certain Back-Up Bidders, as applicable) for the sale of one hundred and
twenty-eight (128) Owned Properties and two Leased Properties (collectively, the “Initial
Properties”) and (b) that forty-six (46) Owned Properties and one hundred and forty-one (141) of
the Leased Properties (the “Remaining Leased Properties”) remained to be sold pursuant to the
Real Estate Auction or continued marketing efforts.



1   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
    noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place of business and
    the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211.
2   Capitalized terms used in this notice but not defined herein shall have the meanings ascribed to them in the Bidding
    Procedures Order.
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       PLEASE TAKE FURTHER NOTICE that, on December 6, 2023, the Debtors filed
that certain Notice of Adjournment of Real Estate Auction for Certain Remaining Leased
Properties to December 18, 2023 At 9:00 A.M. (E.T.) [Docket No. 1284] adjourning the Real
Estate Auction for Remaining Leased Properties to December 18, 2023 at 9:00 a.m. (E.T.).

       PLEASE TAKE FURTHER NOTICE that, on December 18, 2023 and December 19,
2023, the Debtors, in consultation with the Consultation Parties and in accordance with the
Bidding Procedures Order, conducted and completed bidding for certain Remaining Leased
Properties, resulting in the sales of twenty-three (23) of the Remaining Leased Properties (the
“Won Leased Properties”) across six (6) Winning Bidders for an aggregate purchase price of
$82,892,697 (collectively, the “Lease Sales”).

       PLEASE TAKE FURTHER NOTICE that: (1) a list of the Winning Bidders for the
Won Leased Properties, including each Winning Bidder’s total Won Leased Properties and
aggregate purchase price, is set forth at Exhibit 1 hereto; and (2) a list of the Won Leased
Properties for each Winning Bidder is set forth at Exhibit 2 hereto.

       PLEASE TAKE FURTHER NOTICE that one hundred and eighteen (118) Leased
Properties and forty-six (46) Owned Properties remain to be sold pursuant to the Real Estate
Auction or continued marketing efforts, as set forth at Exhibit 3 hereto.

        PLEASE TAKE FURTHER NOTICE that the Debtors intend to promptly seek board
authorization to enter into definitive documentation with each applicable Winning Bidder with
respect to each of the Lease Sales and, pending such approval, to file a proposed form of Sale
Order (the “Sale Order”) authorizing the Lease Sales (including the Debtors’ entry into
respective Asset Purchase Agreements with the Winning Bidders of the Won Leased Properties)
on or around January 3, 2023 and in advance of the Sale Hearing (as defined below).

       PLEASE TAKE FURTHER NOTICE that a hearing (the “Sale Hearing”) to consider
approval of the Sale Order for the Won Leased Properties is scheduled to occur before the
Honorable Judge Craig T. Goldblatt, at the Court, 824 North Market Street, 3rd Floor,
Courtroom No. 7, Wilmington, Delaware 19801, on January 12, 2024 at 2:00 p.m. (E.T.).

       PLEASE TAKE FURTHER NOTICE that, as set forth in the Notice of Rescheduled
Sale Objection Deadline, Adequate Assurance Objection Deadline, and Sale Hearing for Certain
of the Debtors’ Leased Properties (the “Rescheduling Notice”) filed contemporaneously
herewith, objections to the Sale Order shall be filed on the Court’s docket and served on
applicable interested parties no later than January 5, 2024 at 5:00 p.m. (E.T.) and objections
with respect to adequate assurance of future performance shall also be filed and served on
applicable interested parties no later than January 5, 2024 at 5:00 p.m. (E.T.).

       PLEASE TAKE FURTHER NOTICE that, unless the Court orders otherwise, the Sale
Hearing scheduled for January 12, 2024 at 2:00 p.m. (E.T.) shall be an evidentiary hearing on
matters relating to the Lease Sales, and there shall be no further bidding at such Sale Hearing.

       PLEASE TAKE FURTHER NOTICE that this Notice of Winning Bidders With
Respect to Certain of the Debtors’ Leased Properties and the Rescheduling Notice (collectively,
the “Notices”) are subject to the terms and conditions of the Bidding Procedures Order, the


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Bidding Procedures Order controlling in the event of any conflict. The Debtors encourage
parties in interest to review such documents, including the Bidding Procedures, in their entirety.
Parties interested in receiving additional or other information regarding the Lease Sales may
make a written request to Epiq Corporate Restructuring, LLC, the notice and claims agent
retained in these chapter 11 cases, or by calling (866)-641-1076.

       PLEASE TAKE FURTHER NOTICE that the relief set forth in the Sale Order remains
subject to Court approval and the Debtors’ continued exercise of their fiduciary duties in
consultation with the Consultation Parties.

        PLEASE TAKE FURTHER NOTICE that copies of the Bidding Procedures Order, the
Bidding Procedures, the Notices, the proposed form of Sale Order (to be filed on or around
January 3, 2024), and any other related documents can be obtained free of charge on the website
of the Debtors’ notice and claims agent, Epiq, at https://dm.epiq11.com/YellowCorporation.




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Dated: December 20, 2023
Wilmington, Delaware

/s/ Laura Davis Jones
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